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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DELAWARE VALLEY AESTHETICS, PLLC                     :
D/B/A RUMER COSMETIC SURGERY                         :
      and                                            :       NO.    20-cv-00456
KATHY RUMER, DO FACOS                                ;
                                                     :
       v.                                            :
                                                     :
JOHN DOE 1                                           :
     and                                             :
JANE DOE 1                                           :


                                       STATUS REPORT

        Plaintiffs, by and through their undersigned counsel, submit the following status report as
required by the Court’s Order of July 20, 2020. Plaintiffs have taken the following actions to
identify the Defendants and their respective citizenship:

   1. On February 20, 2020, Plaintiffs issued subpoena to Google to determine identity of
      individual registered to the Gmail account rumersanonymous@gmail.com. Google
      responded it did not have any identifying information regarding the individual registered
      to the requested Gmail account.

   2. On March 11, 2020, Plaintiffs issued a subpoena to attend and testify to Katelyn Burns, a
      reporter who contacted Plaintiffs regarding an article she was researching. Ms. Burns
      had spoken to several of Plaintiffs’ past patients. Plaintiffs scheduled Ms. Burns’
      deposition for April 2, 2020. However, due to COVID-19 restrictions, Ms. Burns’
      deposition was adjourned and has yet to be rescheduled.

   3. On March 27, 2020, Plaintiffs issued a subpoena to CloudFlare, the internet service
      provider associated with the I.P. address for rumersanonymous.blogspot.com. Plaintiffs
      did not receive a response to this subpoena.

   4. On April 29, 2020, Plaintiffs sent correspondence to CloudFlare requesting a response to
      their subpoena. CloudFlare failed and/or refused to respond to said correspondence.

   5. On May 18, 2020, counsel visited CloudFlare’s website and discovered that due to the
      pandemic, all CloudFlare employees were working remotely. Therefore, CloudFlare’s
      mail was not being monitored. Counsel for Plaintiff located an email for CloudFlare’s
      general counsel, Douglas Kramer, Esq., and forwarded him a copy of the subpoena.
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6. On May 21, 2020, CloudFlare’s general counsel responded to Plaintiffs’ counsel’s email
   requesting additional information in order to comply with the subpoena.

7.    On June 1, 2020, CloudFlare’s general counsel emailed counsel for Plaintiffs to advise
     they had no information responsive to the subpoena.

8. Upon receipt of CloudFlare’s response, counsel for Plaintiff retained the services of a
   computer forensic investigative services expert.

9. The expert has attempted to ascertain a personal I.P. address for the anonymous blogger
   through advanced investigative computer techniques. To date, no personal I.P. address
   could be determined.

10. Plaintiffs’ expert has determined another means for determining the identity of the
    person/persons responsible for the wrongdoing. Specifically, the expert has identified the
    company responsible for registering the domain name and is of the belief that this
    company has identifying information, such as a valid name and address in addition to
    credit card information belonging to the responsible party/parties.

11. On July 30, 2020, counsel for Plaintiff issued subpoenas to these companies and are
    awaiting responses.

12. Plaintiffs are hesitant to divulge too much information on public record as Defendants
    have taken great steps to conceal their identity. Having detailed knowledge of the
    investigative steps Plaintiffs are taking could allow Defendants to modify any existing
    accounts with specific related websites in order to continue to thwart efforts to identify
    Defendants. Plaintiffs are happy to directly provide court with any additional
    information requested.



                                          ROGERS CASTOR

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